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Exhibit 6
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

CASE NO.
04-10981

IN RE: NEURONTIN MARKETING, SALES
PRACTICES AND PRODUCTS LIABILITY
LITIGATION

THIS DOCUMENT RELATES TO:

05-CV-11515

RUTH SMITH, Individually and as
Widow for the use and benefit of
herself and the next of kin of
Richard Smith, deceased.

 

 

 

 

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46 48
1 A I would still put that the pill 1 Q Okay. Allright. So it's your
2 bottle was there. 2 belief that bottle contains the Neurontin, the
3 Q_ Okay. 3 big pill bottle?
4 A But I would more than likely note 4 A Yes, sir.
5 that it was empty. 5 Q Okay. Are you -- are you -- is that
6 Q Okay. Allright. Now, looking at 6 something that you're certain of?
7 the photographs —- and I've got a version of 7 A Im pretty sure of that because it
8 photographs that actually has the number -- the 8 looks like you can see the writing right there
9 numbers that were assigned that was part of the 9 onthe capsule, Gabapentin, Neurontin.
10 file. And I have the 04-1575-01. Yours may -- 10 MR. SOH: Can I see your copy?
11 A That's fine. 11 MR. EVANS: His is a little clearer.
12 Q_ -- they may be a little clearer than 12 THE WITNESS: And here's another one
13 mine. And J want to look first at 13 that you can see. Do you see what I'm
14 photographs 6 and 14. And I'm going to mark as 14 talking about?
15 deposition Exhibit No. 4 photograph 6, and 15 MR. SOH: No.
16 deposition Exhibit No. 5 photograph 14. 16 THE WITNESS: Trust me on these
17 (EXHIBIT NOS. 4 AND 5 WERE MARKED FOR |17 pills.
18 IDENTIFICATION.) 18 MR. SOH: Okay. That's all right.
19 BY MR. EVANS: 19 That's all right.
20 Q Now, looking at these two 20 THE WITNESS: All right.
21 photographs, there are a number of -- well, 21 BY MR. EVANS:
22 fair to say there are a number of medication 22 Q_ And can you tell me -- you said
23 bottles on the dresser? 23 something about the collection of medications
24 A Ub-huh. 24 at the scene.
25  Q Yes? 25 Are you able to tell me one way or the
47 49
1 A Yes, sir. 1 other whether or not there was a collection
2 Q. Allright. 2 made of the medications, the cyclobenzaprine,
3 A Sorry. 3 the Hydrocodone, and Neurontin at the Smith
4 Q_ Are you able to tell me from looking 4 home?
5 at these photographs which pill bottle the 5 A Did I collect them?
6 Neurontin was contained in? 6 Q Yes.
7 A The one that says courtesy refills, 7 A Yes.
8 Eckerd on top, the big one. 8 Q Youdid? Okay.
9 Q. Okay. The big one that's -- 9 A. As best I remember.
10 A Right there. 10 Q Okay. And why -- do you have a
11 Q_-- kind of in the center of -- next 11 specific recollection of collecting the pill
12 to the cell phone? 12 bottles?
13 A It was between the cell phone and the [13 A. As best I remember, I collected them.
14 watch. 14 Q. Okay. Allright. And then what
15 Q_ Soto the right of the cell phone. 15 happens to the pill bottles once they're
16 Allright. 16 collected?
17 And how is it that you know that that's 17 A You transport them back here. We
18 the bottle that contained Neurontin? 18 usually use two forms, a medication log, which
19 A Because you can see it on the pill 19 basically logs the medication that was there.
20 bottle. 20 And we have a medication list, which we put the
21 MR. SOH: You can see it on the what? {21 type of drug, when it was prescribed, how many
22 A You can see it on the pill bottle. I 22 were left, who prescribed it, such like that.
23 see Neurontin all the time and plus I was 23. Q Okay.
24 prescribed it in the past. 24 A SoI probably didn't do that. And
25 BY MR. EVANS: 25 the reason is because I couldn't find it,

 

 

13 (Pages 46 to 49)

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